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UNITED STATES DISTRICT COURT DEC 132017
SOUTHERN DISTRICT OF TEXAS Mtb Oats, Cia ot com
HOUSTON DIVISION
UNITED STATES OF AMERICA § 1 { CR { 3 7
§
V. : CRIMINAL NO::
§
KAAN SERCAN DAMLARKAYA :
Defendant. §

INDICTMENT
THE GRAND JURY CHARGES THAT:
COUNT ONE
(Providing and Attempting to Provide Material Support to Terrorists)

Beginning on or about January 1, 2017, and continuing until on or about December 8, 2017,

in the Southern District of Texas and elsewhere within the jurisdiction of the Court, defendant,
KAAN SERCAN DAMLARKAYA,

did knowingly and intentionally provide and attempt to provide material support and resources, as
that term is defined in Title 18, United States Code, Section 2339A(b)(1), including services,
training, and expert advice and assistance, knowing and intending that the material support and
resources were to be used in preparation for and in carrying out violations of 18 U.S.C. § 956
(conspiracy to kill, kidnap, maim, or injure persons or damage property in a foreign country); 18
U.S.C. § 2332a (conspiracy and attempt to use a weapon of mass destruction); and 18 U.S.C. §
2332b (conspiracy and attempt to engage in acts of terrorism transcending national boundaries).

All in violation of Title 18, United States Code, Sections 2339A(a) and 2.
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COUNT TWO

(Attempting to Provide Material Support
To a Designated Foreign Terrorist Organization)

Beginning on or about January 1, 2017, and continuing until on or about December 8, 2017,

in the Southern District of Texas and elsewhere within the jurisdiction of the Court, defendant,
KAAN SERCAN DAMLARKAYA,

did knowingly and intentionally attempt to provide material support and resources, as that term is
defined in Title 18, United States Code, Section 2339A(b)(1), including services, training, expert
advice and assistance, to a designated Foreign Terrorist Organization (FTO), namely the Islamic
State of Iraq and al-Sham (ISIS), knowing that ISIS was a designated FTO, and knowing that ISIS
had engaged in, and was engaging in, terrorist activity and terrorism.

All in violation of Title 18, United States Code, Sections 2339B(a)(1) and 2.

COUNT THREE

(Attempting to Provide Material Support
To a Designated Foreign Terrorist Organization)

Beginning on or about January 1, 2017, and continuing until on or about December 8, 2017,

in the Southern District of Texas and elsewhere within the jurisdiction of the Court, defendant,
KAAN SERCAN DAMLARKAYA,

did knowingly and intentionally attempt to provide material support and resources, as that term is
defined in Title 18, United States Code, Section 2339A(b)(1), including personnel, specifically
himself, to a designated Foreign Terrorist Organization (FTO), namely the Islamic State of Iraq
and al-Sham (ISIS), knowing that ISIS was a designated FTO, and knowing that ISIS had engaged
in, and was engaging in, terrorist activity and terrorism.

All in violation of Title 18, United States Code, Sections 2339B(a)(1) and 2.
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COUNT FOUR
(Unlawfully Distributing Explosives Information)

On or about August 8, 2017, within the Southern District of Texas and elsewhere within

the jurisdiction of the Court, defendant,
KAAN SERCAN DAMLARKAYA,

did knowingly and unlawfully distribute by any means information pertaining to, in whole and in
part, the manufacture and use of an explosive, destructive device, and a weapon of mass
destruction, with the intent that the information be used for; and in furtherance of, an activity that
constitutes a federal crime of violence, including: violations of 18 U.S.C. § 956 (conspiracy to kill,
kidnap, maim, or injure persons or damage property in a foreign country); 18 U.S.C. § 2332a
(conspiracy and attempt to use a weapon of mass destruction); 18 U.S.C. § 2332b (conspiracy and
attempt to engage in acts of terrorism transcending national boundaries); 18 US.C. § 2339A
(conspiracy, providing and attempting to provide material support to terrorists); and 18 U.S.C. §
2339B (conspiracy, providing and attempting to provide material support to a designated foreign
terrorist organization).

All in violation of Title 18, United States Code, Sections 842(p)(2)(A) and 2.

COUNT FIVE
(Unlawfully Distributing Explosives Information)
On or about August 10, 2017, within the Southern District of Texas and elsewhere within
the jurisdiction of the Court, defendant,
KAAN SERCAN DAMLARKAYA,

did knowingly and unlawfully distribute by any means information pertaining to, in whole and in
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part, the manufacture and use of an explosive, destructive device, and a weapon of mass destruction
with the intent that the information be used for, and in furtherance of, an activity that constitutes a
federal crime of violence, including: violations of 18 U.S.C. § 956 (conspiracy to kill, kidnap,
maim, or injure persons or damage property in a foreign country); 18 U.S.C. § 2332a (conspiracy
and attempt to use a weapon of mass destruction); 18 U.S.C. § 2332b (conspiracy and attempt to
engage in acts of terrorism transcending national boundaries); 18 U.S.C. § 2339A (conspiracy and
attempt to provide material support to terrorists); and 18 U.S.C. § 2339B (conspiracy and attempt
to provide material support to a designated foreign terrorist organization).

All in violation of Title 18, United States Code, Sections 842(p)(2)(A) and 2.

A TRUE BILL ~
ORIGINAL SIGNATURE ON FILE
* FUREPERSON UF THE GRAND JURY

ABE MARTINEZ
Acting United States Attorney

Southern District LE
by. MA

ARTHUR R. JONES

Assistant United States Attorne
By: a LE

ALAMDAR S. HAMDANI

AssistantkJpited States —
By:

Y R. GONZALEZ
Trig#f Attorney, Counterterrorism Section

  

 
